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               EXHIBIT 2




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Chokwe Antar Lumumba, Mayor                                                                 Candice Cole
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FOR IMMEDIATE RELEASE
July 18, 2018


    THE CITY OF JACKSON ADDRESSES TECHNICAL VIOLATIONS FOUND IN
                     WATER TREATMENT PROCESS

Jackson residents will be notified of water treatment technique violations found within the city’s
                                  O.B. Curtis Treatment Plant.

JACKSON, Miss. July 18, 2018 – Wednesday, Mayor Chokwe Antar Lumumba held a press
briefing to publicly announce technical violations that have been found in the techniques used
to treat water at the O.B Curtis Water Treatment Plant as it relates to the Optimized Control
Plan for the City of Jackson.

Mayor Lumumba told reporters, “We are here to acknowledge that the city has failed one of
the process standards for maintaining the proper pH within our system.”

While the city’s drinking water supply does not test positive for lead, Mayor Lumumba
explained that the technical violation stems from a decision to retrofit the water treatment
system which was originally designed to only process liquid lime, not soda ash.

“The City of Jackson under my father’s administration, learned that there were troubles or
issues with the water treatment facility being able to maintain a proper pH through what we
had as a liquid lime system at that time. Mayor Lumumba at that time took action to
incorporate that in the budget to purchase a new system. Before he had the opportunity for
that new system to be purchased, first and foremost, he asked if it was an emergency such that
it required immediate action and he discovered that it was something that the system would
hold out until the next budget incorporated a new system. At that time he placed it in the
budget. The Yarber administration later took that item out of the budget. If you may recall, at
that time there were a few lead tests that came up in a few homes somewhere around 2014,
2015 and there were efforts made at that time to retrofit the liquid lime system into a system
which uses soda ash. What we have recently discovered is that the retrofitted system is not an
adequate solution to the process. Because we are dealing with a machine that was not
intended for the use of soda ash, there has been trouble in terms of soda ash clumping as it
leads into the distribution system. And so that has led to a process violation.”




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In December 2017, the Mississippi State Department of Health issued an Optimized Corrosion
Control Plan for the City of Jackson drinking water system which requires the city to maintain a
minimum pH of 9.0 for drinking water as it enters the water distribution system from both of its
water treatment plants.
The Plan further requires that the pH in the water distribution system remain at 8.6 and above.

The purpose of the plan and the minimum pH requirements is to help prevent lead and copper
from dissolving into the drinking water.

According to Director of Public Works, Robert Miller, the City of Jackson was notified in July
2018 that the city failed to consistently maintain the minimum pH of 9.0 for drinking water
from the City’s O. B. Curtis Water Treatment Plant and which is a violation of the City’s
Optimized Corrosion Control Plan during the months of January 2018 to June 2018. The City
also failed to consistently maintain a pH of at least 8.6 in the monthly water distribution system
monthly samples.

To clarify, Director Miller told reporters, “When I say that we failed to meet it consistently, we
met the target regularly but there were occasions of hours where there were excursions where
the pH was either below or above that level.”

A notice of violation has since been mailed to customers in the City of Jackson system.

Director Miller went on to tell reporters that the specific challenge faced by the city is that the
soda ash being used to control the pH has been particularly difficult to dose in the current
system, citing the difficulty with soda ash reacting to high levels of humidity in the air to form
rock-like clumps that are very difficult to process in the system.

“We anticipate that we may need to replace the equipment in the near future. Meanwhile, we
have implemented temporary chemical feed equipment that is having better, but not complete
success. This temporary equipment is being optimized while implementation of a new feed
system is being designed for construction and installation.”, said Director Miller

The City of Jackson has emphasized that this is not an emergency situation, but the following
precautions are advised for Jackson water consumers to consider:




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• Run your tap on cold for one to two minutes before using it for drinking or cooling
• Households should never use hot water for drinking or cooking.
• Residents should clean out their faucet aerators by unscrewing the aerator at the tip of the
faucet and removing any particles or sediment that have collected in the filter screen.
• Any child five years of age or younger and any pregnant woman should use filtered water or
bottled water for drinking and cooking.
• Baby formula should be “ready to feed” or prepared using only filtered water or bottle water.
• Parents with children five years or younger should contact their child’s pediatrician or primary
care provider to make sure that adequate lead screening and blood testing have been
performed.

For more information, please contact the City of Jackson Water Laboratory at 601.960.2723




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